       Case 8:16-cv-00009-DFM Document 16-1 Filed 02/11/16 Page 1 of 1 Page ID #:195


 Andrew D. La Fiura
 Jackson Lewis P.C.
 Three Parkway
 1601 Cherry Street, Suite 1350
 Philadelphia, PA 19102
 Tel: (267) 319-7802
 Fax: (215) 399-2249
 E-mail: andrew.lafiura@jacksonlewis.com
                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
 TRACI WOLBERT                                                         CASE NUMBER

                                                        Plaintiff(s)             SACV16-00009 JLS (DFMx)
                                v.
                                                                         (PROPOSED) ORDER ON APPLICATION
 QUALITY SYSTEMS, INC., NEXTGEN                                        OF NON-RESIDENT ATTORNEY TO APPEAR
 HEALTHCARE INFORMATION SYSTEMS, and DOES                                 IN A SPECIFIC CASE PRO HACE VICE
 1 through 10, INCLUSIVE,

                                                      Defendant(s).

The Court, having reviewed proof of payment of the applicable fee and accompanying Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
La Fiura, Andrew D.                                                    of     Jackson Lewis P.C.
Applicants Name (Last Name, First Name & Middle Initial)
                                                                              Three Parkway
(267) 319-7802                              (215) 399-2249                    1601 Cherry Street, Suite 1350
Telephone Number                            Fax Number                        Philadelphia, PA 19102
     andrew.lafiura@jacksonlewis.com
                           E-Mail Address                                   Firm Name & Address
for permission to appear and participate in this case on behalf of
Defendant Quality Systems, Inc.
Defendant Nextgen Healthcare Information Systems


Name(s) of Party(ies) Represented                               [ ] Plaintiff       Defendant     [ ] Other:
and designating as Local Counsel
Sandoval, Cynthia S.                                                          Jackson Lewis P.C.
Designee’s Name (Last Name, First Name & Middle Initial)                      5000 Birch Street, Suite 5000
191390                               (949) 885-1360                           Newport Beach, CA 92660
Designee’s Cal. Bar Number           Telephone Number
                                     (949) 885-1380
                                     Fax Number                             Firm Name & Address
                                                                                   sandovac@jacksonlewis.com
                                                                                           E-Mail Address
hereby ORDERS the Application be:
[ ] GRANTED.
[ ] DENIED. Fee shall be returned by the Clerk.
[ ] DENIED. For failure to pay the required fee.
Dated
                                                                            U.S. District Judge/U.S. Magistrate Judge
GB64 ORDER (06/13)   (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE   Page 1 of 1
